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                       IN THE UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF ARKANSAS
                                 WESTERN DIVISION

LITTLE ROCK FAMILY                                                                  PLAINTIFFS
PLANNING SERVICES, et al.,

v.                               Case No. 4:19-cv-00449-KGB

LESLIE RUTLEDGE, in her
official capacity as Attorney General
of the State of Arkansas, et al.,                                                 DEFENDANTS

                                             ORDER
       Before the Court is defendants’ motion for expedited preliminary-injunction-proceeding

discovery and to shorten plaintiffs’ time to respond to this motion (Dkt. No. 86). The Court

shortened plaintiffs’ time to respond to the motion (Dkt. No. 89), and plaintiffs responded in

opposition to the motion (Dkt. No. 92). For the following reasons, the Court denies defendants’

motion.

       As an initial matter, the Court denies the motion because defendants again failed to comply

with Local Rule 7.2(g) of the Local Rules of the United States District Court for the Eastern and

Western Districts of Arkansas, which imposes a meet and confer requirement before discovery

motions are filed with the Court. Plaintiffs represent that defendants did not attempt to meet and

confer regarding this second motion for expedited discovery, and defendants fail to include in their

moving papers the required statement that the parties “have conferred in good faith on the specific

issue or issues in dispute and that they are not able to resolve their disagreements without the

intervention of the Court.” See Local Rule 7.2(g).

       Regardless, the Court denies the motion and denies the relief defendants’ request.

Defendants fail to demonstrate good cause for this expedited discovery for a number of reasons.

As an initial matter, this is the second set of expedited discovery to which defendants seek to
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compel plaintiffs to respond before this Court rules on a pending request for preliminary injunction

(see Dkt. Nos. 26, 56). At the preliminary injunction stage, “‘[e]xpedited discovery is not the

norm.’” Dorrah v. United States, 282 F.R.D. 442, 445 (N.D. Iowa 2012) (quoting Merrill, Lynch,

Pierce, Fenner & Smith, Inc. v. O’Connor, 194 F.R.D. 618, 624 (N.D. Ill. 2000)). Therefore, “the

party seeking discovery must demonstrate that the need for expedited discovery, in consideration

of the administration of justice, outweighs prejudice to the responding party.” Nilfisk, Inc. v. Liss,

Case No. 17-cv-1902 (WMW/FLN), 2017 WL 7370059, at *7 (D. Minn. June 15, 2017). On the

facts and circumstances of this case, defendants fail to do so.

       First, as to requests for documents or information or deposition testimony from Planned

Parenthood of Arkansas and Eastern Oklahoma (“PPAEO”), PPAEO although a party to this

litigation is not a party to the pending request for a preliminary injunction. Second, there is record

evidence that demonstrates that PPAEO does not and cannot provide surgical abortion care in

Arkansas at the time of this Court’s inquiry with respect to the pending motion for a preliminary

injunction (Dkt. No. 32-1). Plaintiffs have presented live witness testimony, subject to cross

examination by defendants, and sworn declarations that PPAEO cannot provide surgical abortions

due in part to their limited number of providers and facility limitations. Third, defendants

subpoenaed Janet Cathey, M.D., one of the OBGYNs who provide abortion care at PPAEO Little

Rock for the July 22, 2019, hearing. Defendants had sufficient notice of that hearing, the hearing

was set on a date requested by defendants, and defendants could have subpoenaed any number of

witnesses to testify at that hearing. They chose Dr. Cathey. Dr. Cathey attended the hearing and

testified; defendants had a full opportunity to cross examine her on these matters and to obtain

evidence related to these matters.      Defendants chose not to conduct any meaningful cross

examination of Dr. Cathey on these topics at the July 22, 2019, hearing. These matters were not




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unknown to defendants at the time of the July 22, 2019, hearing. In fact, defendants questioned

Jason Lindo, Ph.D., plaintiffs’ expert witness, about the press release related to capacity at

PPAEO’s intended new Little Rock facility. Further, upon review, the written requests for

production defendants propose are overly broad and unduly burdensome and not proportional to

the needs of this case at this stage of the litigation. Defendants offer no explanation for why a

second round of expedited discovery in this case is necessary on these topics, under the

circumstances.

       To the extent defendants claim any need for a second round of expedited discovery related

to the data produced to or relied upon by Jason Lindo, Ph.D., this Court has examined those

arguments in ruling on a related motion (Dkt. No. 80). The Court rejects defendants’ arguments

and any claim that defendants require a second round of expedited discovery on this basis.

       To the extent defendants seek information regarding the number of out-of-state abortions

obtained by Arkansas residents at unspecified health centers in Oklahoma, Missouri, Texas,

Tennessee, Mississippi, Louisiana, and Kansas, the Court denies the request. The requests related

to this information are vague as they reference “abortion facilities in States bordering or near

Arkansas” that “PPAEO and/or related parties operate—or in the last five years has operated;”

procedurally improper given the parties involved in this litigation and the parties from whom

defendants intend to seek discovery based on the Court’s understanding of their requests; overly

broad and unduly burdensome and not proportional to the needs of this case at this stage of the

litigation in as much as these requests seek information from unidentified providers in

approximately seven different states for a five year period; and irrelevant based on this Court’s

determination regarding the obligations of Arkansas and its analysis of Arkansas abortion




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providers only (Dkt. No. 83, at 143-45). Defendants offer no legal argument that persuades the

Court to reconsider that determination.

       For these reasons, the Court denies defendants’ motion and the requested relief (Dkt. No.

86).

       So ordered this 30th day of July 2019.



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                                                         Kristine G. Baker
                                                         United States District Judge




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